                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           NEW ALBANY DIVISION

PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                        )
                                         )
                     Plaintiff,          )
                                         )
                  v.                     )           No. 4:17-cv-00186-RLY-DML
                                         )
WILDLIFE IN NEED AND WILDLIFE IN         )
DEED, INC.,                              )
TIMOTHY L. STARK,                        )
MELISA D. STARK, and                     )
JEFFREY L. LOWE,                         )
                                         )
                     Defendants.         )
                                         )
                                         )
MELISA D. STARK,                         )
TIMOTHY L. STARK,                        )
WILDLIFE IN NEED AND WILDLIFE IN         )
DEED, INC.,                              )
                                         )
                     Counter Claimants, )
                                         )
                  v.                     )
                                         )
PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                        )
                                         )
                     Counter Defendants. )

                     MODIFIED PERMANENT INJUNCTION

      On August 3, 2020, the court granted People for the Ethical Treatment of Animals,

Inc.'s ("PETA's") Motion for Partial Summary Judgment and their request for a

permanent injunction against Timothy Stark, Melissa Lane, and their nonprofit zoo in

Charlestown, Indiana, Wildlife in Need and Wildlife in Deed, Inc. ("WIN") (all
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collectively the "WIN Defendants"). In light of the court's Entry issued today, the court

now issues this modified permanent injunction. It is now HEREBY ORDERED:

       1. The WIN Defendants violated the Endangered Species Act ("ESA"), 16 U.S.C.

§1538(a)(1)(B), (G) and its implementing regulations, 50 C.F.R. §§ 17.21(c), 17.31(a),

17.40(r), by taking tigers, lions, and hybrids thereof ("Big Cats") within the meaning of

the ESA when they wounded, harmed, and/or harassed at least twenty-two Big Cats via

declawing.

       2. The WIN Defendants violated the ESA, 16 U.S.C. § 1538(a)(1)(B), (G) and its

implementing regulations, 50 C.F.R. §§ 17.21(c), 17.31(a), 17.40(r), by taking Big Cats

within the meaning of the ESA when they harmed and harassed at least fifty-three Big

Cats by prematurely separating Big Cat Cubs from their mothers.

       3. The WIN Defendants violated, and continue to violate, the ESA, 16 U.S.C. §

1538(a)(1)(D), (G) and implementing regulations, 50 C.F.R. §§ 17.21(d), 17.31(a),

17.40(r), by possessing Big Cats that they have unlawfully taken in violation of the ESA.

       4. The WIN Defendants, and their officers, agents, servants, and employees shall

be permanently ENJOINED from declawing any Big Cat. For purposes of this Order,

“declawing” means a procedure, surgical or otherwise, also called onychectomy, in which

an animal’s toe is amputated at the distal interphalangeal joint.

       5. The WIN Defendants, and their officers, agents, servants, and employees shall

be permanently ENJOINED both from prematurely separating any Big Cat Cub from his

or her mother and from publicly displaying Big Cat Cubs in public encounters. For

purposes of this Injunction, premature separation means separation of cub and mother

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within two years of birth without medical necessity. For purposes of this Injunction,

“public encounters” includes (a) permitting a person who is not a WIN Defendant or their

officer, agent, servant, and employee to have any physical contact with a Big Cat Cub or

(b) a WIN Defendant or their officer, agent, servant, and employee presenting or handling

a Big Cat Cub in any demonstration or presentation.

      6. The WIN Defendants, and their officers, agents, servants, and employees shall

be permanently ENJOINED from owning or possessing any Big Cats, including those

that they have unlawfully taken via declawing or premature maternal separation in

violation of the ESA. As such, any and all ownership or possessory rights the WIN

Defendants have in any Big Cats are terminated.

      7. The WIN Defendants, and their officers, agents, servants, and employees shall

be permanently ENJOINED from owning or possessing any Big Cat without first

demonstrating an ability to care for the animals and receiving court approval.

SO ORDERED this 15th day of September 2020.



                                         s/RLY




Distributed Electronically to Registered Counsel of Record.

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